  Case 22-12885-JNP                Doc 29 Filed 06/18/22 Entered 06/19/22 00:14:23                               Desc Imaged
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Form 148 − ntcdsmcs

                                   UNITED STATES BANKRUPTCY COURT


District of New Jersey
401 Market Street
Camden, NJ 08102

                                         Case No.: 22−12885−JNP
                                         Chapter: 13
                                         Judge: Jerrold N. Poslusny Jr.

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   John Joseph Zappile
   113 Iris Drive
   Egg Harbor Township, NJ 08234
Social Security No.:
   xxx−xx−2250
Employer's Tax I.D. No.:


                                    NOTICE OF ORDER DISMISSING CASE


      NOTICE IS HEREBY GIVEN that an Order Dismissing the above captioned Case was entered on 6/15/22.

      Any discharge which was granted in this case is vacated. All outstanding fees to the Court incurred by the
dismissed debtor(s) are due and owing and must be paid within seven (7) days from the date of this Order.

      This dismissal may mean that the debtor is ineligible to file another bankruptcy petition for 180 days under 11
U.S.C. § 109(g).




Dated: June 16, 2022
JAN:

                                                                   Jeanne Naughton
                                                                   Clerk
      Case 22-12885-JNP                     Doc 29 Filed 06/18/22 Entered 06/19/22 00:14:23                                              Desc Imaged
                                                 Certificate of Notice Page 2 of 4
                                                              United States Bankruptcy Court
                                                                  District of New Jersey
In re:                                                                                                                 Case No. 22-12885-JNP
John Joseph Zappile                                                                                                    Chapter 13
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0312-1                                                  User: admin                                                                 Page 1 of 3
Date Rcvd: Jun 16, 2022                                               Form ID: 148                                                              Total Noticed: 34
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jun 18, 2022:
Recip ID                 Recipient Name and Address
db                     + John Joseph Zappile, 113 Iris Drive, Egg Harbor Township, NJ 08234-6105
519573321              + Christine Zappile, 113 Iris Drive, Egg Harbor Township, NJ 08234-6105
519554624              + South Jersey gas, 1 South Jersey Plaza, Hammonton, NJ 08037-9100

TOTAL: 3

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                  Notice Type: Email Address                                    Date/Time                 Recipient Name and Address
smg                       Email/Text: usanj.njbankr@usdoj.gov
                                                                                        Jun 16 2022 20:39:00      U.S. Attorney, 970 Broad St., Room 502, Rodino
                                                                                                                  Federal Bldg., Newark, NJ 07102-2534
smg                    + Email/Text: ustpregion03.ne.ecf@usdoj.gov
                                                                                        Jun 16 2022 20:39:00      United States Trustee, Office of the United States
                                                                                                                  Trustee, 1085 Raymond Blvd., One Newark
                                                                                                                  Center, Suite 2100, Newark, NJ 07102-5235
519626908              + Email/Text: bankruptcy@pepcoholdings.com
                                                                                        Jun 16 2022 20:38:00      Atlantic City Electric Company, 5 Collins Drive,
                                                                                                                  Suite 2133, Mail Stop 84CP42, Carneys Point, NJ
                                                                                                                  08069-3600
519554607              + Email/Text: bankruptcy@pepcoholdings.com
                                                                                        Jun 16 2022 20:38:00      Atlantic City electric company, PO Box 13610,
                                                                                                                  Philadelphia, PA 19101-3610
519554608              + Email/Text: bankruptcy@pepcoholdings.com
                                                                                        Jun 16 2022 20:38:00      Atlantic Cty Ele Co Ef, 5100 Harding Hwy, Mays
                                                                                                                  Landing, NJ 08330-2260
519554609              + Email/Text: bk@avant.com
                                                                                        Jun 16 2022 20:39:00      Avant/WebBank, 222 North Lasalle Street, Suite
                                                                                                                  1600, Chicago, IL 60601-1112
519554610              + EDI: LCIBAYLN
                                                                                        Jun 17 2022 00:33:00      Bayview Financial Loan, Attn: Bankruptcy Dept,
                                                                                                                  4425 Ponce De Leon Blvd. 5th Floor, Coral
                                                                                                                  Gables, FL 33146-1873
519561369              + Email/Text: enotifications@santanderconsumerusa.com
                                                                                        Jun 16 2022 20:39:00      CHRYSLER CAPITAL, P.O. BOX 961275,
                                                                                                                  FORT WORTH, TX 76161-0275
519554613              + EDI: CAPITALONE.COM
                                                                                        Jun 17 2022 00:33:00      Capital One, Attn: Bankruptcy, Po Box 30285,
                                                                                                                  Salt Lake City, UT 84130-0285
519554614              + EDI: CAPONEAUTO.COM
                                                                                        Jun 17 2022 00:33:00      Capital One Auto Finance, Attn: Bankruptcy, 7933
                                                                                                                  Preston Rd, Plano, TX 75024-2302
519556474              + EDI: AISACG.COM
                                                                                        Jun 17 2022 00:33:00      Capital One Auto Finance, a division of, AIS
                                                                                                                  Portfolio Services, LP, 4515 N Santa Fe Ave.
                                                                                                                  Dept. APS, Oklahoma City, OK 73118-7901
519583961              + EDI: AISACG.COM
                                                                                        Jun 17 2022 00:33:00      Capital One Auto Finance, a division of Capital
                                                                                                                  On, P.O. Box 4360, Houston, TX 77210-4360
519586074              + EDI: AIS.COM
                                                                                        Jun 17 2022 00:33:00      Capital One Bank (USA), N.A., 4515 N Santa Fe
                                                                                                                  Ave, Oklahoma City, OK 73118-7901
519554612              + EDI: CAPITALONE.COM
                                                                                        Jun 17 2022 00:33:00      Capital one, PO Box 71083, Charlotte, NC
                                                                                                                  28272-1083
519554611              + EDI: CAPITALONE.COM
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District/off: 0312-1                                              User: admin                                                             Page 2 of 3
Date Rcvd: Jun 16, 2022                                           Form ID: 148                                                          Total Noticed: 34
                                                                                   Jun 17 2022 00:33:00     Capital one, PO Box 60511, City of IND, CA
                                                                                                            91716-0511
519554615             + EDI: CAPITALONE.COM
                                                                                   Jun 17 2022 00:33:00     Capitalone, Po Box 31293, Salt Lake City, UT
                                                                                                            84131-0293
519554616             + Email/Text: enotifications@santanderconsumerusa.com
                                                                                   Jun 16 2022 20:39:00     Chrysler capital, PO Box 660335, Dallas, TX
                                                                                                            75266-0335
519554617                EDI: CITICORP.COM
                                                                                   Jun 17 2022 00:33:00     Citibank North America, Citibank SD MC 425,
                                                                                                            5800 South Corp Place, Sioux Falls, SD 57108
519633712             + Email/Text: nsm_bk_notices@mrcooper.com
                                                                                   Jun 16 2022 20:38:00     Community Loan Servicing, LLC, et al., 4425
                                                                                                            Ponce De Leon Boulevard, 5th Floor, Coral
                                                                                                            Gables, FL 33146-1837
519554618             + Email/Text: nsm_bk_notices@mrcooper.com
                                                                                   Jun 16 2022 20:38:00     Community loan servicing, PO Box 740410,
                                                                                                            Cincinnati, OH 45274-0410
519554620             + Email/PDF: creditonebknotifications@resurgent.com
                                                                                   Jun 16 2022 20:43:49     Credit One Bank, Attn: Bankruptcy Department,
                                                                                                            Po Box 98873, Las Vegas, NV 89193-8873
519554619             + Email/PDF: creditonebknotifications@resurgent.com
                                                                                   Jun 16 2022 20:43:54     Credit one bank, PO Box 60500, City of industry,
                                                                                                            CA 91716-0500
519579036             + Email/PDF: acg.exeter.ebn@aisinfo.com
                                                                                   Jun 16 2022 20:44:31     Exeter Finance LLC, PO Box 650693, Dallas, TX
                                                                                                            75265-0693
519555310             + EDI: AISACG.COM
                                                                                   Jun 17 2022 00:33:00     Exeter Finance LLC, AIS Portfolio Services, LP,
                                                                                                            4515 N Santa Fe Ave. Dept. APS, Oklahoma City,
                                                                                                            OK 73118-7901
519554622             + Email/PDF: acg.exeter.ebn@aisinfo.com
                                                                                   Jun 16 2022 20:44:31     Exeter Finance LLC, Attn: Bankruptcy, Po Box
                                                                                                            166008, Irving, TX 75016-6008
519554621             + Email/PDF: acg.exeter.ebn@aisinfo.com
                                                                                   Jun 16 2022 20:43:53     Exeter finance, PO Box 166008, Irving, TX
                                                                                                            75016-6008
519625181                Email/PDF: resurgentbknotifications@resurgent.com
                                                                                   Jun 16 2022 20:43:57     LVNV Funding, LLC, Resurgent Capital Services,
                                                                                                            PO Box 10587, Greenville, SC 29603-0587
519621729             + Email/Text: csc.bankruptcy@amwater.com
                                                                                   Jun 16 2022 20:39:00     New Jersey American Water, PO Box 578, Alton,
                                                                                                            IL 62002-0578
519554623             + Email/Text: enotifications@santanderconsumerusa.com
                                                                                   Jun 16 2022 20:39:00     Santander Consumer USA, Attn: Bankruptcy, Po
                                                                                                            Box 961245, Fort Worth, TX 76161-0244
519554625             + EDI: USAA.COM
                                                                                   Jun 17 2022 00:33:00     USAA federal savings bank, 10750 McDermott
                                                                                                            Freeway, San Antonio, TX 78288-1600
519628367             + EDI: AIS.COM
                                                                                   Jun 17 2022 00:33:00     Verizon, by American InfoSource as agent, 4515
                                                                                                            N Santa Fe Ave, Oklahoma City, OK 73118-7901

TOTAL: 31


                                                    BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                   NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.
       Case 22-12885-JNP                  Doc 29 Filed 06/18/22 Entered 06/19/22 00:14:23                                       Desc Imaged
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District/off: 0312-1                                              User: admin                                                            Page 3 of 3
Date Rcvd: Jun 16, 2022                                           Form ID: 148                                                         Total Noticed: 34

Date: Jun 18, 2022                                       Signature:           /s/Gustava Winters




                                CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on June 16, 2022 at the address(es) listed below:
Name                             Email Address
Alexander Granovsky
                                 on behalf of Trustee Isabel C. Balboa aggs400@yahoo.com

Alexander Granovsky
                                 on behalf of Debtor John Joseph Zappile aggs400@yahoo.com

Isabel C. Balboa
                                 ecfmail@standingtrustee.com summarymail@standingtrustee.com

U.S. Trustee
                                 USTPRegion03.NE.ECF@usdoj.gov


TOTAL: 4
